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Date: 1/13/2022

To: Board of Education

From: Dr. Keri Skeeters

Re: Challenged Material - The Bluest Eye, Toni Morrison

The committee reviewed and voted to retain The Bluest Eye by Toni Morrison. Feedback from all
committee members is attached.

We ask the board to approve the recommendation of the committee to retain The Bluest Eye.




                Wentzville School District – Teaching & Learning Department
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                            Challenged Material Information

Type of Material: Library Book

Title: The Bluest Eye

Author: Toni Morrison

Person Challenging: Amber Crawford

Description of objectionable aspects of the material:
Pages 84-85: “He must enter her surreptitiously, lifting the hem of her nightgown only to
her navel. He must rest his weight on his elbows when they make love, to avoid hurting
her breasts…When she senses some spasm about to grip him, she will make rapid
movements with her hips, press her fingernails into his back, suck in her breath, and
pretend she is having an orgasm. She might wonder again, for the six hundredth time,
what it would be like to have that feeling while her husband’s penis is inside her.”

Pages 130-131: “Then he will lean his head down and bite my t** . . . I want him to put
his hand between my legs, I want him to open them for me. . . I stretch my legs open,
and he is on top of me…He would die rather than take his thing out of me. Of me. I take
my fingers out of his and put my hands on his behind…”
Pages 148-149: “With a violence born of total helplessness, he pulled her dress up,
lowered his trousers and underwear. ‘I said get on wid it. An’make it good, n*****,
Come on c***. Faster. You ain’t doing nothing for her.’ He almost wished he could do
it—hard, long, and painfully, he hated her so much.”

Pages 162-163: “A bolt of desire ran down his genitals…and softening the lips of his
anus. . . . He wanted to f*** her— tenderly. But the tenderness would not hold. The
tightness of her vagina was more than he could bear. His soul seemed to slip down
his guts and fly out into her, and the gigantic thrust he made into her then provoked
the only sound she made. Removing himself from her was so painful to him he cut it
short and snatched his genitals out of the dry harbor of her vagina. She appeared to
have fainted.”

Page 174: “He further limited his interests to little girls. They were usually
manageable . . . His sexuality was anything but lewd; his patronage of little girls
smacked of innocence and was associated in his mind with cleanliness.” And later,
this same pedophile notes, “I work only through the Lord. He sometimes uses me to
help people.”

Page 181: “The little girls are the only things I’ll miss. Do you know that when I
touched their sturdy little t*** and bit them —just a little—I felt I was being friendly?—If
I’d been hurting them, would they have come back? . . . they’d eat ice cream with their
legs open while I played with them. It was like a party.”




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Rationale for objection:
Pediphilla, incest, rape

                                  Committee Decision

Committee Decision: Retain

Committee Vote (anonymous ballot):
In-person votes:
3 Retain
1 Retain with Restriction
1 Not Retained

Votes submitted virtually:
3 Retain
1 Retain with Restriction

                                       Definitions
Retained: No change

Retained with Restriction: Parents can request a restriction be placed in their
student’s Destiny account for the work. This is already available to all parents in the
district.

Not Retained: Book removed. No access for any students.


                             Committee Rationale/Comments

Retain with NO change:
The majority opinion of the committee is to retain the book with no change. The
committee was asked to consider the question: What is the appropriateness of the
work for its intended educational purpose? Based on the fact that the book is a part
of the library, committee members believe that removing the work would infringe on the
rights of parents and students to decide for themselves if they want to read this work of
literature.

   ● Students are not assigned this book, but rather it is a choice that is one of
     thousands of books in the library.




                                                                          Exhibit 21
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   ● As part of an AP choice reading list, it is important for the library to retain this
     book so students can have access.
   ● Parents who choose to provide additional guidance for their child in selecting
     books fitting with their families values can communicate with the librarian to
     collaboratively assist that specific student.
   ● The referenced paragraphs are but a few of the passages of this book that allows
     us to see into this world and are not written for sexual gratification.
   ● This novel has value towards a supportive WSD curriculum and students’ growth
     as readers and learners. This novel helps the reader step into and understand
     1941 (pre WWII, pre civil rights movement), small town black culture in a way no
     textbook can do. There is also value for the reader in reading and being exposed
     to Toni Morrison’s prose and manner of writing, which is unique to her.
   ● The themes are provocative, yes, but in a thoughtful way. The reader is left
     thinking and formulating their own opinions about them long after the book is
     finished. The themes are parallel to ones still being experienced today- such as
     racial relations, good vs. evil, who decides the standards set for beauty, and how
     complex we humans are. I do not believe restrictions are needed because there
     is already a process in place for a parent to exert individual control for their own
     child.
   ● I do not want this banned for my children. I want to be able to be the decider,
     caregiver and director of my own family. If I decide a book is not appropriate for
     my child, then I would contact a librarian. This book is not just five quotes, it is a
     bigger picture and shouldn’t be able to ban a book from an entire district of
     students because of their own personal beliefs. People are welcome to make
     decisions for their own children.
   ● I see no reason to restrict on a high school level.
   ● We should not ban books.

Retain with Restriction:
Parents can request a restriction be placed in their student’s Destiny account for the
work. This is already available to all parents in the district.

   ● I believe banning books is anti-American. I believe individual parents should be
     allowed to make decisions for their kids and request particular titles be off-limits
     for their students. What happens or what will we do when a parent requests the
     banning of the Bible or Christian literature?
   ● Books that are banned are “forbidden”. If you want the book to become popular
     and read by many, the fastest way to accomplish that is to ban it. As of now this
     book is available only to students in AP classes and any parent has the right to
     not allow their child to read it simply by contacting the school library. My
     recommendation is to keep the book with restrictions thereby not drawing
     attention to it.



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Not Retained:
One committee member voted to not retain the book.

   ● Graphic Content- low reader usage, low demand




                                                                Exhibit 21
